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                                  Exhibit 1
Case 1:16-cv-00993-LO-TCB Document 84-1 Filed 09/08/21 Page 2 of 2 PageID# 1719



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


                                                 )
  MICROSOFT CORPORATION, a                       )
  Washington corporation,                        )
                Plaintiff,                       )
                                                 )      Civil Action No: 1:16-cv-00993 (LO/TCB)
         v.                                      )
                                                 )
  JOHN DOES 1-2, CONTROLLING A                   )
  COMPUTER NETWORK AND THEREBY                   )
  INJURING PLAINTIFF AND ITS                     )
  CUSTOMERS,
                                                 )
                                                 )
                Defendants.                      )
                                                 )
                                                 )
                                                 )

                              COURT MONITOR REPORT NO. 13
        The Court Monitor submits this 120 day report pursuant to the terms of the Order for
 Permanent Injunction at Docket No. 60.
        There has been no activity to report during the relevant period covered by this Report.




  September 8, 2021

                                                     Hon. S. James Otero
                                                     United States District Judge (Ret.)




                                                -1-                        COURT MONITOR REPORT NO. 13
